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                  EXHIBIT D




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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

  CAROLYN CARPENTER,                              §
                                                  §
                         Plaintiff,               §        CIVIL ACTION NO. 3:18-cv-2338
                                                  §
  v.                                              §       ON REMOVAL FROM
                                                  §       CAUSE NO. DC-18-09810
  BOSTON SCIENTIFIC CORPORATION,                  §       DALLAS COUNTY, TEXAS
                                                  §
                          Defendant.              §
               DEFENDANT’S DISCLOSURE OF INTERESTED PARTIES

        Defendant Boston Scientific Corporation (“Boston Scientific”) hereby submits this

Disclosure of Interested Parties pursuant to Local Rules 81.1 and 3.1(c).

        The following parties are known by Boston Scientific to have a financial interest in the

outcome of this litigation:

        1.     Plaintiff Carolyn Carpenter.

        2.     Plaintiff’s attorneys are Robert B. Kleinman, Breanne V. Cope, and John Cook of

the law firm of Common Sense Counsel LLP of Austin, Texas, as well as Michele S. Carino of the

law firm of Carino Law of Whitestone, New York.

        3.     Defendant Boston Scientific Corporation is a Delaware corporation with its

principal place of business in Massachusetts whose shares are publicly traded on the New York

Stock Exchange. Boston Scientific has no parent corporation, and only FMR LLC/Abigail P.

Johnson owns 10% or more of Boston Scientific’s stock.

        4.     Defendant Boston Scientific is represented by the law firm Shook, Hardy & Bacon

LLP of Houston, Texas.




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Dated: September 4, 2018            Respectfully submitted,



                                   By:   /s/ Kelsey A. Copeland
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                                         ATTORNEY FOR DEFENDANT
                                         BOSTON SCIENTIFIC CORPORATION




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